Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 1 of 66 PageID: 161




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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY


 SANDI ROPER, Individually and on           Case No.: 2:17-cv-01106-ES-MAH
 Behalf of All Others Similarly Situated,
                                            CLASS ACTION
                          Plaintiff,
                                            AMENDED COMPLAINT FOR
       v.                                   VIOLATIONS OF THE FEDERAL
                                            SECURITIES LAWS
 SITO MOBILE LTD., JERRY HUG,
 and KURT STREAMS,                          JURY TRIAL DEMANDED

                          Defendants.



      Lead Plaintiffs Red Oak Fund, LP, Red Oak Long Fund LP, Red Oak

Institutional Founders Long Fund, and Pinnacle Opportunities Fund, LP (collectively,

“Lead Plaintiffs” or the “Red Oak Funds”), by their undersigned attorneys, allege in

this Amended Complaint for Violations of the Federal Securities Laws (the

“Complaint”) the following upon personal knowledge with respect to their own
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 2 of 66 PageID: 162




acts, and upon facts obtained through an investigation by their attorneys and

review of documents and materials including but not limited to: (a) relevant filings

made by SITO Mobile Ltd. (“SITO Mobile” or the “Company”) with the United

States Securities and Exchange Commission (the “SEC”); (b) public documents,

conference calls, and press releases; and (c) research analysts’ reports concerning

the Company.

      Lead Plaintiffs believe that further substantial evidence exists for the

allegations set forth herein after a reasonable opportunity for discovery. Certain

facts supporting the allegations contained herein are known only to Defendants or

are exclusively within their control.

                           NATURE OF THE ACTION
      1.     This is a class action lawsuit alleging violations of the Securities Act

of 1933, 15 U.S.C. §77a et seq. (the “Securities Act”), and Securities Exchange

Act of 1934, 15 U.S.C. §78a et seq. (the “Exchange Act”). Lead Plaintiffs allege

that Defendants acted with negligence and/or scienter when making false and

materially misleading statements and omissions about SITO Mobile’s operations

and finances. These false and materially misleading statements and omissions

induced Lead Plaintiffs and other similarly situated shareholders to purchase shares

of SITO Mobile common stock at artificially inflated prices. When the truth was

revealed, the value of SITO Mobile common stock declined significantly and, as a


                                         2
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 3 of 66 PageID: 163




result, Lead Plaintiffs and other members of the Class suffered substantial

damages.

      2.    SITO Mobile operates within the advertising industry. The company

describes itself as a “mobile location-based media platform” that provides its

customers with the ability to “create advertising content targeted to audiences,

based on location, interests, behaviors and loyalty.” SITO Mobile places customer

advertisements on consumer mobile phones at particular times and places when,

according to the company, the advertisements are likely to be most effective.

      3.    SITO Mobile began trading on the NASDAQ Capital Market on

August 10, 2015. Prior to that time, the company’s common stock was quoted on

the OTCQB maintained by OTC Markets, Inc. Approximately one year later, on

September 16, 2016, SITO Mobile conducted its first stock offering to the public.

SITO Mobile sold over 2.5 million shares of its common stock to the public at

$3.75 per share. SITO Mobile generated over $10 million in proceeds from the

offering.

      4.    SITO Mobile’s public representations preceding, during, and after the

company’s initial public offering contained false and materially misleading

statements and omissions. These statements and omissions related to, in particular,

the 2016 presidential election and the material negative impact that it had on the

company’s sales and revenues. Defendants also omitted to tell investors that they

                                         3
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 4 of 66 PageID: 164




were, and had been, misappropriating funds from the company through illicit

expense reimbursement requests, cash withdrawals, and credit card charges.

      5.     The year 2016 was a presidential election year. Political elections are

known to have an effect on advertising spending. The particular effect, referred to

by industry experts as “political crowd out,” results in lower advertising spending

by non-political retail businesses seeking to avoid inflated prices for advertising

space and increased competition for prime advertising slots. The 2016 presidential

election resulted in an especially strong “political crowd out” effect given the fact

that the election involved over 20 presidential candidates, some of whom received

inordinate amounts of media coverage.

      6.     Defendants omitted material information concerning the then-current

(and highly negative) impact of the 2016 presidential election on SITO Mobile’s

operations and revenue during the third and fourth quarters of fiscal 2016

coincident to their public offering. In so doing, Defendants were able to conduct

the company’s initial public offering with substantial success as well as continue to

fund the ongoing misappropriation scheme that ultimately led to the terminations

of SITO Mobile’s former chief executive and financial officers, Defendants Jerry

Hug and Kurt Streams.

      7.     On November 14, 2016, SITO Mobile reported its earnings for the

third quarter of fiscal 2016 (ended September 30, 2016). Although Defendants

                                         4
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 5 of 66 PageID: 165




reported weaker demand at that time, they attributed it to “seasonality” and not to

the 2016 presidential election. Notwithstanding, investors noticed the slowing

demand, perceived the company’s statements as a partial corrective disclosure, and

reacted accordingly. Over the course of the next three days, the price of SITO

Mobile’s common stock declined by 26%, falling from $5.34 per share on

November 14, 2016 to $3.94 on November 17, 2016.

      8.     Approximately six weeks later, Defendants announced SITO Mobile’s

preliminary financial results for the fourth quarter of fiscal 2016 and, for the first

time, confirmed that SITO Mobile’s revenue had been materially impacted in a

negative manner by the 2016 presidential election. On January 3, 2017, SITO

Mobile announced that its media placement revenue for the fourth quarter of fiscal

2016 had been “negatively affected . . . by restrained advertising spending during a

period of heightened and elongated media focus on this year’s U.S. election.” In a

press release dated January 3, 2017, Defendant Hug stated that, “[SITO Mobile]

clearly underestimated the effects of this year’s election on our clients’ campaign

spending.”

      9.     Investors once again reacted swiftly to the company’s disclosure.

From a closing share price of $3.69 per share on December 30, 2016 (the last

trading day prior to January 3, 2017), SITO Mobile’s stock price declined to $2.50




                                          5
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 6 of 66 PageID: 166




per share on January 3, 2017, a drop of approximately 32%, on unusually heavy

trading volume.

      10.   The 2016 presidential election was significant, and impacted SITO

Mobile’s revenues from continuing operations in a materially negative manner.

Defendants failed to disclose material information concerning the effects of the

election on SITO Mobile’s business—as well as the fact that they had been

misappropriating funds from the company—at the same time they were promoting

the company’s success and seeking to raise funds from an uninformed public. As a

result, Defendants violated the Securities Act and Exchange Act. Collectively,

Defendants’ violations caused SITO Mobile’s market capitalization to decline by

approximately $40 million, resulting in significant losses for Lead Plaintiffs and

other members of the Class.

                        JURISDICTION AND VENUE
      11.   The claims asserted herein arise under and pursuant to Sections 11

and 15 of the Securities Act (15 U.S.C. §§77k, and 77o(a)) and Sections 10(b) and

20(a) of the Exchange Act (15 U.S.C. §§78j(b) and 78t(a)) and Rule 10b-5

promulgated thereunder by the SEC (17 C.F.R. §240.10b-5).

      12.   This Court has jurisdiction over the subject matter of this action

pursuant to 28 U.S.C. §1331, Section 22 of the Securities Act (15 U.S.C. § 77v),

and Section 27 of the Exchange Act (15 U.S.C. §78aa).


                                        6
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 7 of 66 PageID: 167




      13.    Venue is proper in this District pursuant to Section 22 of the

Securities Act, Section 27 of the Exchange Act, and 28 U.S.C. §1391(b) because

the Company’s headquarters are located in this District and certain of the acts

alleged in this Complaint occurred in this District.

      14.    In connection with the acts, conduct and other wrongs alleged in this

Complaint, the defendants, directly or indirectly, used the means and

instrumentalities of interstate commerce, including but not limited to, the United

States mail, interstate telephone communications and the facilities of the national

securities exchange.

                                     PARTIES
      15.    Lead Plaintiffs, as set forth in their Certification accompanying their

motion for appointment as lead plaintiff (Dkt. No. 11-3), purchased common

shares of SITO Mobile at artificially inflated prices during the Class Period,

including purchases of SITO Mobile’s common stock in the company’s initial

public offering in September 2016, and was damaged in connection with the

alleged corrective disclosures.

      16.    Defendant SITO Mobile is a Delaware corporation with its principal

executive office located at 100 Town Square Place, Suite 204, Jersey City, New

Jersey 07310. SITO Mobile’s common stock trades on the NASDAQ Capital

Market under the ticker symbol “SITO”.


                                          7
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 8 of 66 PageID: 168




      17.   Defendant Jerry Hug (“Hug”) is the company’s former Chief

Executive Officer (“CEO”). Hug joined SITO Mobile in 2011 as the company’s

Director of Corporate Development. He was promoted to Executive Vice President

in March 2013. Hug served as CEO from August 27, 2014 until February 17, 2017.

      18.   Defendant Kurt Streams (“Streams”) is the company’s former Chief

Financial Officer (“CFO”). Streams joined SITO Mobile on November 1, 2013 as

CFO. Hug served as CFO from November 1, 2013 until March 10, 2017. Hug also

served as Chief Operating Officer (“COO”) from December 20, 2016 until March

10, 2017.

      19.   Defendant Betsy J. Bernard (“Bernard”) served as a director of SITO

Mobile from July 15, 2014 through June 1, 2017. Bernard was removed from SITO

Mobile’s board of directors on June 1, 2017.

      20.   Defendant Jonathan E. Sandelman (“Sandelman”) served as a director

of SITO Mobile from December 10, 2012 through June 1, 2017. Sandelman was

removed from SITO Mobile’s board of directors on June 1, 2017.

      21.   Defendant Peter D. Holden (“Holden”) served as a director of SITO

Mobile from March 29, 2013 through December 5, 2016. Holden resigned as a

director of the company on December 5, 2016.




                                        8
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 9 of 66 PageID: 169




      22.    Joseph A. Beatty (“Beatty”) served as a director of SITO Mobile from

September 9, 2014 through June 1, 2017. Beatty was removed from SITO Mobile’s

board of directors on June 1, 2017.

      23.    Defendant Richard O’Connell, Jr. (“O’Connell”) served as a director

of SITO Mobile from February 18, 2016 through June 1, 2017. O’Connell also

served as interim CEO from February 17, 2017 until June 1, 2017. On June 1,

2017, O’Connell was removed from SITO Mobile’s board of directors and relieved

of his position as interim CEO.

      24.    Defendant Brent Rosenthal (“Rosenthal”) has served as a director of

SITO Mobile since August 9, 2016. On June 1, 2017, Rosenthal became Chairman

of SITO Mobile’s board of directors.

      25.    The Defendants referenced above in ¶¶17-24 are sometimes referred

to herein as the “Individual Defendants.”

            CLAIMS FOR RELIEF UNDER THE SECURITIES ACT

 The 2016 Presidential Election Negatively Impacted SITO Mobile’s Revenue

      26.    SITO Mobile specializes in mobile location-based advertising and

mobile messaging. SITO Mobile provides a platform serving businesses,

advertisers, and brands that allows them to create real-time targeted content based

on location, interests, behaviors, and loyalty. Through its platform, SITO Mobile




                                            9
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 10 of 66 PageID: 170




 delivers display advertisements and videos on behalf of its customers directly to

 consumers’ smartphones.

       27.   SITO Mobile generates revenue from selling mobile advertising

 campaigns that feature, for example, banner advertisements on mobile devices.

 Revenue is based on the media metrics utilized in internet advertising, i.e., the

 number of audience impressions and the cost-per-thousand price to broadcast to a

 given audience.

       28.   SITO Mobile recognized revenue from its media placement product

 based on the activity of mobile users (consumers) viewing advertisements through

 applications and mobile websites. The company recognized revenue upon the

 delivery of advertising services in accordance with the terms of its advertising

 contracts, which according to SITO Mobile were commonly based on the number

 of advertisements delivered.

       29.   SITO Mobile generated a material amount of its revenue from just a

 small number of customers. For the fiscal year ended December 31, 2016, SITO

 Mobile generated approximately 19% of its revenue from contracts with one

 specific advertising agency customer.

       30.   SITO Mobile generated $28,911,717 in media placement revenue for

 the fiscal year ended December 31, 2016. SITO Mobile accrued an operating loss

 of $1.4 million for the same period. As of December 31, 2016, SITO Mobile held

                                         10
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 11 of 66 PageID: 171




 $8.7 million in cash and cash equivalents; $6.1 million of this amount was

 attributable to SITO Mobile’s September 2016 public offering.

       31.    The following table shows SITO Mobile’s media placement revenues

 for each quarter during fiscal years 2015 and 2016:

    2015
    First Quarter        Second Quarter       Third Quarter         Fourth Quarter
    $1,627,500           $2,154,000           $3,023,200            $5,345,500
    2016
    First Quarter        Second Quarter       Third Quarter         Fourth Quarter
    $4,861,500           $8,297,900           $8,424,100            $7,328,200

       32.    SITO Mobile’s revenue for fiscal year 2016 was materially impacted

 in a negative manner by the 2016 presidential election. Compared to the year prior,

 SITO Mobile’s media placement revenues slowed dramatically between the second

 and third quarter and then declined during the fourth quarter.

       33.    SITO Mobile’s revenue shortfall during fiscal 2016 was caused by the

 2016 presidential election and an effect referred to by advertising industry experts

 as “political crowd out.”

       34.    Political elections routinely effect advertising spending. As an initial

 matter, political elections prompt significant demand for advertising space.

 Political candidates seek to disseminate their campaign messages to as many

 potential voters as possible and, as a result, purchase as much advertising space

 across as many different mediums as possible. The increase in demand results in an

 extreme uptick in pricing and competition for advertising space.
                                         11
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 12 of 66 PageID: 172




       35.    This, in turn, results in a preclusive effect for ordinary retailers

 seeking to purchase advertising space for purposes unrelated to the political

 elections. Within the advertising industry, this effect is referred to as “political

 crowd out.” The effect similarly occurs during periods preceding large-scale,

 highly publicized events, such as the Olympics.

       36.    The “political crowd out” effect that occurred in 2016 was particularly

 significant, as the 2016 presidential election was extremely divisive and highly

 publicized given the number of candidates running as well as their individual

 personalities. Industry analysts, such as the Center for Responsive Politics,

 accurately forecasted that the 2016 presidential election would experience the

 largest amount of political advertising spending in history. Indeed, political

 candidates running for federal office spent approximately $6.8 billion, compared to

 $6.3 billion in 2012 and $5.3 billion in 2008.

       37.    The intensity of political advertising during the 2016 election season

 dramatically effected non-political retail spending on advertising. AdvertisingAge,

 a leading global source of news and analysis in the marketing and media

 community, published an article on October 22, 2015 titled Advertisers May Suffer

 ‘Political Crowd Out’ as 2016 Elections Near. The article explained that

 “[u]nprecedented ad spending” by political candidates was resulting in “a dearth of

 attractive TV time slots and a spike in rates.” According to the article, national and

                                          12
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 13 of 66 PageID: 173




 regional advertisers were anticipated to confront significant trouble in terms of

 purchasing advertising given the increase in advertising spending from “super

 PACs” as well as the fact that there were more than 20 presidential candidates

 from both parties.

          38.   In response to the increased political advertising, industry experts

 were advising non-political retailers to adjust their campaigns and advertising

 spending accordingly. For example, the Television Bureau of Advertising, a not-

 for-profit trade association, advised non-political advertisers to purchase

 advertising space early and budget appropriately for pricing well above average

 rates.

          39.   Other industry experts, such as the Association of National

 Advertisers, advised non-political advertisers to avoid spending on advertising

 until after the November 2016 election.

          40.   Industry participants identified the potential risk of “political crowd

 out” as early as July 2015. Marcus Thomas LLC, a premier marketing

 communications agency, published an article on July 15, 2015 titled Media Impact

 For Brands During Political Election Years. The article discussed the fact that

 increased advertising by political candidates and related entities “creates havoc”

 for commercial brands “to continue advertising as usual.”




                                           13
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 14 of 66 PageID: 174




       41.   After the election passed, a number of financial analysts discussed its

 effects on the advertising industry. For example, on December 21, 2016, analysts

 from Craig-Hallum Capital Group LLC, in a report about SITO Mobile in

 particular, said that “[w]hile demand for [SITO Mobile’s] offering remains strong,

 we think the drama around the election and Facebook’s ad metric discrepancies

 caused a short term disruption around their business and we are lowering our 2016

 estimates to reflect this” (emphasis added). The report further stated, in a section

 titled Election Noise Creates Disruption for Ad Companies, that “[w]e believe that

 all the noise in the weeks surrounding the election caused advertisers to

 considerably pull back their spending. As a result, we think many players in the

 advertising space, including SITO [Mobile], saw a temporary decrease in

 revenues” (emphasis added).

       42.   The analyst firm Ladenburg Thalmann issued a report stating a similar

 conclusion on January 10, 2017. Titled Advertising Activity Negatively Affected by

 2016 Presidential Election, the report stated that “[w]e believe that brands pulled

 back on discretionary campaigns during those weeks not wanting to compete with

 the constant flow of political ads and the ever present news media” (emphasis

 added).

       43.   The 2016 presidential campaign impacted SITO Mobile’s revenue

 during the 2016 fiscal year in a materially negative manner. However, Defendants

                                         14
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 15 of 66 PageID: 175




 omitted this information from investors during SITO Mobile’s initial public

 offering.

       44.    Defendants did not disclose the effects of the 2016 presidential

 campaign until January 3, 2017, after SITO Mobile reported its preliminary

 financial results for the fourth quarter. At that time, Defendants revealed that SITO

 Mobile’s revenue for the fourth quarter of fiscal 2016 had been “negatively

 affected . . . by restrained advertising spending during a period of heightened and

 elongated media focus on this year’s U.S. election.” In a press release dated

 January 3, 2017, Defendant Hug stated that, “[SITO Mobile] clearly

 underestimated the effects of this year’s election on our clients’ campaign

 spending.”

  Defendants Negligently Misrepresented Material Facts about SITO Mobile

       45.    SITO Mobile’s common stock began trading on the NASDAQ Capital

 Market on August 10, 2015. Prior to that time, the company’s common stock was

 quoted on the OTCQB maintained by OTC Markets, Inc.

       46.    On September 16, 2016, SITO Mobile conducted a public offering of

 its common stock. SITO Mobile did not engage in a public offering when it

 “uplisted” to the NASDAQ Capital Market in August 2015. Accordingly, SITO

 Mobile’s offering in September 2016 offering was the company’s first, or initial,

 public offering.

                                          15
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 16 of 66 PageID: 176




       47.    In the offering, SITO Mobile sold 2,666,667 shares of its common

 stock at $3.75 per share to the general public. The company also sold an additional

 400,000 shares of its common stock at $3.4875 per share to the underwriters of the

 offering pursuant to an underwriting option. The offering generated net proceeds of

 $10,320,001 in connection with the registration and issuance of 3,066,667 shares

 of common stock.

       48.    The offering was made pursuant to a prospectus supplement dated

 September 16, 2016 and prospectus dated August 29, 2016. The prospectus

 supplement described the specific terms of the offering. The prospectus provided

 more general information about SITO Mobile.

       49.    The prospectus supplement was part of a registration statement filed

 by SITO Mobile with the SEC on August 19, 2016. Defendants Jerry Hug and Kurt

 Streams signed the registration statement on behalf of SITO Mobile. The

 registration statement was also signed by Defendants Betsy J. Bernard, Jonathan E.

 Sandelman, Peter D. Holden, Joseph A. Beatty, Richard O’Connell, Jr., and Brent

 Rosenthal.

       50.    SITO Mobile’s registration statement, including the company’s

 prospectus and prospectus supplement, did not disclose to investors that the

 company’s sales and revenues were being impacted in a materially negative

 manner by the 2016 presidential election. As described above, the 2016

                                         16
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 17 of 66 PageID: 177




 presidential election prompted an increase political advertising which, in turn,

 caused non-political retail customers to limit and/or avoid advertising spending.

       51.    The effects of the 2016 presidential election had already materialized

 by September 16, 2016, the date of SITO Mobile’s initial public offering. Despite

 strong demand for mobile advertising generally, SITO Mobile’s third quarter

 media placement revenue remained roughly flat from the previous quarter (as

 opposed to increasing sequentially as it did in the year prior).

       52.    The effects of the 2016 presidential election intensified closer towards

 the election. As SITO Mobile progressed into the fourth quarter, media placement

 revenue began to reverse course and decline materially.

       53.    The following chart illustrates how the 2016 presidential election

 impacted SITO Mobile’s media placement revenue:




                                           17
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 18 of 66 PageID: 178




       54.    The impact of the 2016 presidential election on the company’s sales

 and revenues was material and, accordingly, should have been disclosed in the

 course of SITO Mobile’s initial public offering. Investors, including Lead

 Plaintiffs, would have considered this information when deciding whether to invest

 in SITO Mobile. The impact of the 2016 presidential election on the company’s

 sales and revenues would have altered the total mix of information available to

 investors at the time of the company’s initial public offering.

       55.    The importance of this information is further evidenced by the fact

 that it was required to be disclosed pursuant to the Securities Act and Regulation

 S-K. Pursuant to the Securities Act and Regulation S-K (17 C.F.R. Part 229), SITO

 Mobile’s registration statement, including the company’s prospectus and

 prospectus supplement, was required to “[d]escribe any known trends or

 uncertainties that have had or that the registrant reasonably expects will have a

 material favorable or unfavorable impact on net sales or revenues or income from

 continuing operations.” 17 C.F.R. 229.303(a)(3)(ii).

       56.    The 2016 presidential election qualified as a trend and/or uncertainty

 that had already impacted, and was reasonably likely to continue impacting, the

 company’s sales and revenues. By failing to identify the 2016 presidential election

 as a known trend or uncertainty that was likely to impact the company’s sales and




                                          18
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 19 of 66 PageID: 179




 revenues in a materially negative manner, Defendants violated the Securities Act

 and Regulation S-K.

       57.    SITO Mobile’s prospectus supplement also stated the following,

 which similarly failed to disclose the manner in which the 2016 presidential

 election was impacting the company:

       An adverse trend in sales during the holiday season could affect our
       financial results.

       Historically, a high percentage of our annual sales have been
       attributable to the winter holiday selling season. In contrast, a
       substantial portion of our expenses are personnel related and include
       salaries, stock-based compensation, and benefits, which are not
       seasonal in nature. Accordingly, in the event of revenue shortfalls, we
       are generally unable to mitigate the negative impact on our results
       from operations in the short term.

       58.    Defendants, in the statement above, failed to explain that the

 company’s historical pattern of sales would not repeat itself during the 2016 fiscal

 year. As explained above, the 2016 presidential election had already impacted

 revenues and sales in a negative manner and would continue doing so through the

 fourth quarter of 2016. The statement identified above negligently represented to

 investors that the 2016 presidential election would not disrupt the company’s

 ordinary patterns of sales.

       59.    Defendants knew that the 2016 presidential election had impacted or

 would continue to impact the company’s sales and revenues, but failed to

 appreciate the importance of this information and make the necessary disclosures.
                                         19
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 20 of 66 PageID: 180




 Defendants acted with negligence by failing to disclose the ongoing impacts of the

 2016 presidential election on the company’s sales and revenues.

       60.    Alternatively, Defendants should have known that the 2016

 presidential election had impacted or would continue to impact the company’s

 sales and revenues, but failed to perform the appropriate due diligence necessary to

 discover the fact that the 2016 presidential election had impacted or would

 continue to impact the company’s sales and revenues. Defendants, having been

 active in the advertising industry, should have known the extent to which political

 elections impact advertising revenues. Defendants failed to identify and/or

 appreciate the ongoing effects of the 2016 presidential election and, for that reason,

 acted with negligence.

     Defendants Disclose Media Placement Revenue for the Fourth Quarter

       61.    SITO Mobile disclosed its financial results for the third quarter of

 2016 on November 14, 2016. At that time, Defendants revealed that the company’s

 media placement revenue for third quarter of 2016 had remained relatively flat

 compared with the second quarter of 2016. This was significant in light of the

 growth between the second and third quarters of 2015.

       62.    Although Defendants did not attribute the lack of growth to the 2016

 presidential election at that time, investors and analysts noticed and reacted

 accordingly. SITO Mobile’s stock price fell from $5.34 per share on November 14,

                                          20
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 21 of 66 PageID: 181




 2016 to $4.59 per share on November 15, 2016. SITO Mobile’s stock price

 continued to fall over the next few days, ultimately closing at $3.94 per share on

 November 17, 2016.

       63.    Before the marked opened on January 3, 2017, SITO Mobile issued a

 press release announcing the Company’s preliminary media placement revenue

 results for the fourth quarter and year ended December 31, 2016. The press release

 stated the Company’s media placement revenue was in the range of $7.3 million

 and $7.6 million, compared to media placement revenue of $5.5 million in the

 previous year’s comparable quarter. The press release stated in relevant part:

       JERSEY CITY, N.J., January 3, 2017 (GLOBE NEWSWIRE) --
       SITO Mobile Ltd. (NASDAQ: SITO), a leading mobile engagement
       platform provider, announced today that preliminary media placement
       revenue for the quarter ending December 31, 2016, is expected to be
       in the range of $7.3 -$7.6 million. SITO is scheduled to report its
       4th quarter and full year results on March 28, 2017.

       SITO Mobile’s 4th quarter was negatively affected this year by
       restrained advertising spending during a period of heightened and
       elongated media focus on this year’s U.S. election.

       Commenting on the quarter, Jerry Hug, SITO Mobile’s CEO, said,
       “We are disappointed that Q4 ad revenue fell below our expectations
       after a very good year overall. We clearly underestimated the effects
       of this year’s election on our clients’ campaign spending. Leading
       into the quarter, we saw seemingly normal activity levels and then
       revenue dropped off dramatically during the election window.
       Revenue and bookings activity picked back up again in December.
       We continue to win new business and retain our valued customer
       relationships by leveraging SITO’s effective and efficient location-
       based targeting in combination with fully transparent, real-time
       insights into marketers’ campaigns. Additionally, we look forward to
                                          21
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 22 of 66 PageID: 182




       introducing syndicated recurring data deals in 2017 to mitigate the
       variability of our financial performance.”

 (emphasis added)

       64.   SITO Mobile’s disclosure was received negatively by analysts and

 investors alike. The Maxim Group, an equity research firm, lowered its price target

 for SITO Mobile’s stock from $9 per share to $6 per share. In its research report,

 the Maxim Group stated that SITO Mobile’s fourth quarter media placement

 revenue was “disappointing” and that the firm was lowering its “growth rate

 assumptions” after “two consecutive disappointing quarters for Media Placement

 demand.”

       65.   Cowen and Company, another analyst research firm, also responded

 to SITO Mobile’s announcement concerning its fourth quarter earnings. The

 report, titled “4Q Pre-Announcement: Revenue Slips on Election Headwinds,”

 noted that SITO Mobile’s fourth quarter Media Placement revenue was 12% below

 the previous quarter and 25% below Cowen and Company’s estimates. Cowen and

 Company, similar to the Maxim Group, lowered its price target for SITO Mobile’s

 stock from $6 per share to $4.50 per share.

       66.   Investors, like the analysts, also perceived SITO Mobile’s January 3,

 2017 disclosures to be negative and reacted immediately in response thereto by

 selling their shares. The price of SITO Mobile’s stock declined sharply in response

 to the Company’s January 3, 2017 disclosure. From a closing share price of $3.69
                                         22
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 23 of 66 PageID: 183




 per share on December 30, 2016 (the last trading day prior to January 3, 2017),

 SITO Mobile’s stock price declined to $2.50 per share on January 3, 2017, a drop

 of approximately 32%, on unusually heavy trading volume.

                                      COUNT I

                Defendants Violated Section 11 of the Securities Act

       67.    Lead Plaintiffs repeat and realleges the allegations contained above.

       68.    Notwithstanding any allegations herein to the contrary, Lead

 Plaintiffs’ claims against Defendants under the Securities Act are grounded in

 negligence and strict liability. Lead Plaintiffs does not allege fraudulent intent or

 scienter against Defendants in connection with the Securities Act claims.

       69.    As set forth above, SITO Mobile’s registration statement, including the

 prospectus and prospectus supplement, contained untrue and/or incorrect statements

 of material fact and omitted material facts required to be stated in order to make

 the statements contained therein accurate.

       70.    SITO Mobile was the registrant for the offering. As issuer of the

 shares, SITO Mobile is strictly liable to Lead Plaintiffs and to the members of the

 Class for the materially untrue statements and omissions alleged herein.

       71.    SITO Mobile’s registration statement was signed by Defendants Hug

 and Streams on behalf of the Company.




                                          23
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 24 of 66 PageID: 184




       72.    Defendants Bernard, Sandelman, Holden, Beatty, O’Connell, and

 Rosenthal each appointed Defendants Hug and Streams as their true and lawful

 attorneys-in-fact and agents for the purpose of “sign[ing] any and all amendments

 (including post-effective amendments) to the Registration Statement, and to sign

 any registration statement for the same offering covered by this Registration

 Statement that is to be effective upon filing pursuant to Rule 462(b) under the

 Securities Act of 1933, as amended, and all post effective amendments thereto . . .

 .” Defendants Bernard, Sandelman, Holden, Beatty, O’Connell, and Rosenthal signed

 or authorized others to sign the registration statement on their behalf.

       73.    The Individual Defendants were directors and/or executive officers of

 SITO Mobile at the time of the filing of the registration statement.

       74.    The Individual Defendants were named in the registration statement as

 being or about to become a director of, or person performing similar functions in, the

 SITO Mobile.

       75.    Lead Plaintiffs and the other members of the Class purchased SITO

 Mobile securities in SITO Mobile’s initial public offering and/or traceable to SITO

 Mobile’s initial public offering.

       76.    Lead Plaintiffs and the other members of the Class were damaged by

 Defendants as a direct and proximate result of the untrue statements and omissions in

 the registration statement.

                                            24
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 25 of 66 PageID: 185




       77.    This claim was brought within the applicable statute of limitations.

       78.    By reason of the foregoing, Defendants have violated Section 11 of the

 Securities Act and are liable to Lead Plaintiffs and the other members of the Class.

                                      COUNT II

       The Individual Defendants Violated Section 15 of the Securities Act
       79.    Lead Plaintiff repeats and realleges the above allegations, as if fully

 set forth herein.

       80.    SITO Mobile’s conduct, as alleged herein, constitutes a violation of

 Section 11 of the Securities Act. The Individual Defendants are liable to Lead

 Plaintiffs and the other members of the Class, jointly and severally with and to the

 same extent as SITO Mobile, for violations under Section 15 of the Securities Act.

       81.    The Individual Defendants participated in the operation and

 management of SITO Mobile at the time of the initial public offering and

 conducted and participated, directly and indirectly, in the conduct of SITO

 Mobile’s business affairs.

       82.    The Individual Defendants were involved in the day-to-day operations

 of the Company at the highest levels.

       83.    The    Individual   Defendants     possessed    access   to   confidential

 proprietary information concerning the Company and its business and operations

 and possessed authority over the Company’s public statements.


                                           25
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 26 of 66 PageID: 186




       84.    The Individual Defendants were senior officers and/or directors of

 SITO Mobile. Due to their positions of control and authority, the Individual

 Defendants were able to, and did, control the contents of the registration statement,

 prospectus, and prospectus supplement that contained materially false and

 inaccurate information.

       85.    The Individual Defendants signed, or caused to be signed on their

 behalf, the registration statement, prospectus, and prospectus supplement.

       86.    The Individual Defendants authorized the filing of the registration

 statement, prospectus, and prospectus supplement with the SEC and signed or

 caused to be signed on their behalves the document(s) incorporated into the

 registration statement, prospectus, and prospectus supplement.

       87.    The Individual Defendants were controlling persons of SITO Mobile

 under the Securities Act.

             CLAIMS FOR RELIEF UNDER THE EXCHANGE ACT

 Defendants SITO Mobile, Hug, and Streams Intentionally Withheld Material
              Information about the 2016 Presidential Election
       88.    Lead Plaintiffs incorporate herein ¶¶1-66 by reference. As alleged

 therein, the 2016 presidential election caused a decline in SITO Mobile’s sales and

 revenues.

       89.    Defendants SITO Mobile, Hug, and Streams knew as of the start of

 the Class Period that the 2016 presidential election had already impacted the

                                          26
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 27 of 66 PageID: 187




 company’s sales and revenues and would continue to do so until the election

 completed. Moreover, Defendants SITO Mobile, Hug, and Streams knew that they

 were actively misappropriating funds from the company through illicit expense

 reimbursement requests, cash withdrawals, and credit card charges.

        90.    Notwithstanding, Defendants SITO Mobile, Hug, and Streams made

 public statements that materially misled investors so as to create a false impression

 that SITO Mobile’s sales and revenues would not be impacted by the 2016

 presidential election and that demand for the company’s services would be

 substantially stronger than it in fact was during the Class Period. Defendants Hug

 and Streams also concealed their misappropriation scheme from the public while at

 the same time promoting the company through unduly positive statements

 concerning the demand for the company’s services.

          Defendants Misrepresented Material Facts about SITO Mobile

                                   August 15, 2016

        91.    On August 15, 2016, SITO Mobile issued a press release announcing

 its financial results for the second quarter of fiscal 2016. The press release stated,

 in pertinent part, that:

        JERSEY CITY, N.J., August 15, 2016 (GLOBE NEWSWIRE) --
        SITO Mobile Ltd. (NASDAQ: SITO), a leading mobile engagement
        platform, today announced its results for the second quarter ended
        June 30, 2016.

        Second Quarter 2016 Business Highlights
                                          27
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 28 of 66 PageID: 188




        ● TOTAL REVENUE: was $9.9 million, an increase of 168%
       year-over-year.

        ● MEDIA PLACEMENT REVENUE: (SITO Mobile’s
       programmatic advertising revenue) was $8.3 million, an increase of
       285% year-over-year and 71% sequentially.

         ● GROSS PROFIT: was $5.4 million (55% gross margin) in Q2
       2016, up from $1.8 million (51% gross margin) in Q2 2015. (Please
       refer to the supplemental schedule below for calculation of Gross
       Profit and Gross Margin).

         ● ADJUSTED EBITDA: was $1.8 million for the quarter, up
       from $0.1 million in Q1 and ($0.2) million in Q2 of 2015. (See
       attached schedule for reconciliation of Adjusted EBITDA to GAAP)

        ● NET INCOME: was $0.7 million, which equates to $0.04
       earnings per share on total shares outstanding of 17.4 million.

       “In the Second quarter, we produced early indications of the kind of
       consistent, solid revenue growth we’re expecting as we work towards
       becoming a dominant player in location-based mobile advertising,”
       said Jerry Hug, CEO of SITO Mobile. “The overall market for mobile
       advertising is already measured in $10’s of billions and is growing
       rapidly. Mobile Media is uniquely equipped to handle location-based
       ad campaigns and SITO Mobile is emerging as a leading player in this
       $18 billion segment of the mobile advertising market. SITO Mobile is
       creating higher levels of mobile consumer engagement – resulting in
       more clients, more campaigns and larger campaign spending
       commitments, as the largest global advertisers shift significant
       advertising dollars to mobile. On this foundation, we look forward to
       producing meaningful revenue growth for the balance of 2016 and
       beyond.”

 (emphasis added)

       92.   The statement identified above in emphasis was false and/or

 materially misleading. As written, the press release represented to investors that
                                        28
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 29 of 66 PageID: 189




 SITO Mobile’s second quarter results would be indicative of the company’s results

 for the third quarter. The third quarter was already halfway completed by the date

 of the press release, which led investors to believe that Defendant Hug in fact knew

 that the third quarter revenue was strong. The press release concealed the fact that

 SITO Mobile’s sales and revenues had already begun to stall due to the 2016

 presidential election. Moreover, Defendant Hug’s statement within the press

 release misled investors in a substantial and material manner by creating the false

 impression the strong demand experienced in the second quarter would continue in

 the third quarter. This was not true.

       93.    Later the same day, during an investor conference conference call to

 discuss the company’s financial and operating results for the second fiscal quarter

 ended June 30, 2016, Defendant Streams stated in relevant part:

       Let me take a moment to talk about seasonality in the advertising
       business, and how that may affect our growth progression. We now
       have better visibility into future media placement revenue versus
       several quarters ago as a result of improved participation in
       advertiser's planning and request for mobile ad campaign proposals.
       So, precise predictions in the advertising business beyond our horizon
       of several weeks can be a difficult proposition.

       With that said, there are some typical seasonal patterns worth keeping
       in mind. As we discussed in our last call, typically the first quarter of
       the year start slow as post-holiday spending drops off considerably.
       Activity then builds through the quarter, gain strength, and through
       the second quarter as we've been demonstrated in our Q2 results.
       There has been typically a brief drop off in the early summer, and we
       did experience about a 10% less ad revenue dollars in July versus
       June, which was a record high month for us.
                                          29
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 30 of 66 PageID: 190




       Now, we are building bookings as the fall season approaches and we
       expect growth to continue through the holiday season. So while we
       expect strong year-over-year growth in the third quarter, we believe
       a sequential growth in Q3 will follow advertising seasonal trend of
       being modest versus Q2, and we expect Q4 to grow sequentially from
       Q3. We plan to give you more color on that in our next earnings call
       in November.

 (emphasis added)

       94.   The statements identified above in emphasis were false and/or

 materially misleading. Similar to the statements in the press release, Defendant

 Streams represented to investors that “growth” would “continue through the

 holiday season” even though growth had already started to slow in the third quarter

 due to the 2016 presidential election. Moreover, instead of accurately disclosing

 the negative impact caused by the 2016 presidential election, Defendant Streams

 falsely represented to investors that the company’s seasonal sales patterns would

 proceed as normal during the third and fourth quarters of fiscal 2016. These

 statements concealed the truth about negative effects of the 2016 presidential

 election that SITO Mobile had already started to experience.

       95.   SITO Mobile also filed its quarterly report (Form 10-Q) on August 15,

 2016, which was signed and certified under the Sarbanes Oxley Act of 2002 by the

 Defendants Hug and Streams.

       96.   Pursuant to the Exchange Act and Regulation S-K (17 C.F.R. Part

 229), SITO Mobile’s quarterly report for the second quarter of fiscal 2016 was
                                         30
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 31 of 66 PageID: 191




 required to “[d]escribe any known trends or uncertainties that have had or that the

 registrant reasonably expects will have a material favorable or unfavorable impact

 on net sales or revenues or income from continuing operations.” 17 C.F.R.

 229.303(a)(3)(ii).

       97.    The 2016 presidential election qualified as a trend and/or uncertainty

 that had already impacted, and was reasonably likely to continue impacting, the

 company’s sales and revenues. By concealing the fact that the 2016 presidential

 election was a known trend or uncertainty that was likely to impact the company’s

 sales and revenues in a materially negative manner, Defendants SITO Mobile,

 Hug, and Streams violated the Exchange Act and Regulation S-K.

       98.    The false statements and/or misleading omissions within the press

 release, conference call, and quarterly report were material. The truth concerning

 the 2016 presidential election, and the effects it would have on the company’s sales

 and revenues, would have been considered by investors when deciding whether to

 purchase SITO Mobile stock. This information, which related directly to the

 company’s most important financial metrics, would have altered the total mix of

 information available to investors.

                                 September 16, 2016

       99.    SITO Mobile also filed a final prospectus supplement with the SEC

 on September 16, 2016. The prospectus supplement incorporated the company’s

                                         31
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 32 of 66 PageID: 192




 registration statement dated August 19, 2016, which was signed by Defendants

 Hug and Streams (among others).

       100. Pursuant to the Exchange Act and Regulation S-K (17 C.F.R. Part

 229), SITO Mobile’s quarterly report for the second quarter of fiscal 2016 was

 required to “[d]escribe any known trends or uncertainties that have had or that the

 registrant reasonably expects will have a material favorable or unfavorable impact

 on net sales or revenues or income from continuing operations.” 17 C.F.R.

 229.303(a)(3)(ii).

       101. The 2016 presidential election qualified as a trend and/or uncertainty

 that had already impacted, and was reasonably likely to continue impacting, the

 company’s sales and revenues. By concealing the fact that the 2016 presidential

 election was a known trend or uncertainty that was likely to impact the company’s

 sales and revenues in a materially negative manner, Defendants SITO Mobile,

 Hug, and Streams violated the Exchange Act and Regulation S-K.

       102. The truth concerning the 2016 presidential election, and the effects it

 would have on the company’s sales and revenues, would have been considered by

 investors when deciding whether to purchase SITO Mobile stock. This

 information, which related directly to the company’s most important financial

 metrics, would have altered the total mix of information available to investors.




                                          32
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 33 of 66 PageID: 193




                                November 14, 2016

       103. On November 14, 2016, SITO Mobile issued a press release

 announcing the company’s financial and operating results for the third fiscal

 quarter ended September 30, 2016. The press release stated in relevant part:

       JERSEY CITY, N.J., November 14, 2016 (GLOBE NEWSWIRE) --
       SITO Mobile Ltd. (NASDAQ: SITO), a leading mobile engagement
       platform, today announced its results for the third quarter ended
       September 30, 2016.

       Third Quarter 2016 Business Highlights

             • TOTAL REVENUE: was $10.3 million, an increase of
               129% year-over-year.

             • MEDIA PLACEMENT REVENUE: (SITO Mobile’s
               programmatic advertising revenue) was $8.4 million, an
               increase of 179% year-over-year.

             • GROSS PROFIT: was $5.7 million (55% gross margin), up
               from $2.4 million (52% gross margin) in Q3 2015. (Please
               refer to the supplemental schedule below for calculation of
               Gross Profit and Gross Margin).

             • ADJUSTED EBITDA: was $1.8 million, up from a loss of
               $(0.7) million in Q3 of 2015. (See attached schedule for
               reconciliation of Adjusted EBITDA to GAAP)

             • NET INCOME: was $501 thousand which equates to $0.03
               (diluted) earnings per share on total (diluted) shares
               outstanding of 19.5 million.

       “Q3 was another successful and productive quarter for SITO Mobile,”
       said Jerry Hug, SITO Mobile’s CEO. “Our media placement business
       once again delivered stellar year-over-year growth and we made
       good progress on our key priorities. We added new customers and

                                         33
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 34 of 66 PageID: 194




       increased total campaigns while also adding more partners to our
       data ecosystem. Our RFP pipeline is growing and our pool of
       opportunities is increasing as current and prospective clients begin
       to recognize, appreciate and embrace the value of SITO Mobile’s
       location-based marketing platform.”

       Hug continued, “In September we raised $10.3 million in net proceeds
       through an equity offering. This successful offering was enabled by
       the strength of our strategic positioning in the mobile adtech
       marketplace coupled with our strong revenue growth and profitability.
       As a result of this offering, we added several new institutional
       shareholders and increased market awareness and liquidity. The
       proceeds from this offering strengthen our balance sheet, and provide
       financial flexibility as we execute our plan.”

 (emphasis added)

       104. The statement identified above in emphasis was false and/or

 materially misleading. As written, the press release represented to investors that

 SITO Mobile’s operations were growing and that demand for the company’s

 services had been increasing. The fourth quarter was already halfway completed by

 the date of the press release, which led investors to believe that Defendant Hug in

 fact possessed data to support his statements. The press release concealed the fact

 that SITO Mobile’s sales and revenues had already underwent a significant decline

 due to the 2016 presidential election.

       105. Later the same day, SITO Mobile held a conference call to discuss the

 company’s financial and operating results for the third fiscal quarter ended

 September 30, 2016. During the conference call, Defendant Hug stated:



                                          34
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 35 of 66 PageID: 195




      Thanks, Joe. Good afternoon to everyone on the line and thank you
      for joining us on our call today. Q3 was another successful and
      productive quarter that delivered solid results. Our core media
      placement business met expectations, once again delivering
      excellent year-over-year growth. We made good progress on our
      key priorities, grew our RFP pipeline and we continue to maintain
      a very positive outlook for the balance of the year and beyond. In
      late Q3, we also significantly improved our balance sheet and our
      overall corporate profile through a successful equity offering.
      ...
      We've had an excellent 2016 thus far with lots of accomplishments
      and very healthy revenue growth and we have a very positive
      outlook for the remainder of this year and throughout 2017. On
      this foundation, we are in excellent position to grow revenues and
      earnings significantly from here in the coming years.
 (emphasis added)

      106. Defendant Streams, during the conference call, stated that:

      Thanks, Jerry. I will briefly review our financial performance for the
      quarter, again reminding you that we are now operating on the
      December 31 calendar year for financial reporting purposes. For Q3
      2016, SITO produced total revenue of $10.3 million, a 129%
      increase over Q3 2015. The improvement was led by continuing
      growth in our media placement revenue, which grew 179% to $8.4
      million for the third quarter compared to $3 million for last year's
      Q3 and up slightly sequentially, as our revenues flattened out due
      to August being a seasonally slower month.

      Our year over year increase is due to the growth in the number of
      our sales people, our customers and the mobile ad campaigns we
      ran. We expect these same factors to drive strong year over year
      growth in the 4th quarter. Media placement revenue is now the vast
      majority of our total revenue production. In Q3, media placement
      revenue was generated by over 100 different clients and around 425
      different campaigns demonstrating our continued revenue
      diversification and scalable platform. The media placement business
      is our core revenue growth engine and we expect to maintain and
                                        35
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 36 of 66 PageID: 196




       grow this diverse revenue base in the coming quarters as we had
       customers and attract a larger share of their advertising budgets. For
       Q3, our wireless applications’ SMS revenue was approximately $1.7
       million, up 33% from Q3 2015.

 (emphasis added)

       107. During the question-and-answer segment of the conference call,

 Defendant Streams further stated that:

       <Q: Mike Malouf, Analyst> And then with regards to the media
       placement business. Can you talk a little bit about seasonality, I know
       we were flat or roughly flat up 1.5% for the September quarter, I
       know that's sort of where you guided to especially coming out of the
       summer. How does - how should we expect the fourth quarter with
       regards to seasonality and then maybe some comments on March as
       well because you've got a lot of sort of cross-currents going on with
       regards to the growth.

       <A: Kurt Streams> Well, Q4 is seasonally our stronger quarter in
       the advertising business and it's that way for SITO as well. So you
       should think of it that way, we think it's going to be strong year over
       year. It's also going to be you know it’s a strong seasonal quarter.
       The Q1 quarter is typically seasonally a slower quarter again just
       based on the timing of ad spends and the way ad agencies are
       planning cycles work. And then with regards to margin, we made the
       remark that our margins were in the mid 50s and now the margins will
       fluctuate a little bit depending on revenue opportunities that we see
       before us. But we like the margin levels that we're running the
       business at.

 (emphasis added)

       108. Defendant Hug, in response to analyst questions, stated as follows:

       <Q: Jon Hickman, Analyst> Real quick question, can you tell us if
       there was much - did you get much lift in this quarter from the
       political campaign, the elections campaign ads?

                                          36
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 37 of 66 PageID: 197




       <A: Jerry Hug> So we did not, Jon, and the action or the activities
       that we saw in our political product were more down ballot than in
       the general.

       <Q: Jon Hickman, Analyst> So there won't be any like a
       meaningful drop off in all of the stuff over right?

       <A: Jerry Hug> That's correct. There will not be.

 (emphasis added)

       109. Defendant Hug’s and Streams’ statements during the November 14,

 2016 conference call were extremely misleading in light of the fact that the 2016

 presidential election had already completed and, consequently, the company had

 already experienced a significant decline in its sales and revenues as a result

 thereof. Notwithstanding, Defendants Hug and Streams represented to investors

 that demand for the company’s services had been significant through the third

 quarter and into the fourth quarter. Defendant Streams also represented that the

 company’s normal seasonal sales patterns would proceed uninterrupted by the

 election. Defendant Hug even represented to investors, in response to a direct

 question from an analyst, that the company suffered no negative consequences in

 response to the political elections. These statements were false and materially

 misleading.

       110. SITO Mobile also filed its quarterly report (Form 10-Q) for the third

 quarter of fiscal 2016 on November 14, 2016. The quarterly report was signed and



                                        37
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 38 of 66 PageID: 198




 certified under the Sarbanes Oxley Act of 2002 by the Defendants Hug and

 Streams.

       111. Pursuant to the Exchange Act and Regulation S-K (17 C.F.R. Part

 229), SITO Mobile’s quarterly report for the third quarter of fiscal 2016 was

 required to “[d]escribe any known trends or uncertainties that have had or that the

 registrant reasonably expects will have a material favorable or unfavorable impact

 on net sales or revenues or income from continuing operations.” 17 C.F.R.

 229.303(a)(3)(ii).

       112. The 2016 presidential election qualified as a trend and/or uncertainty

 that had already impacted the company’s sales and revenues. By concealing the

 fact that the 2016 presidential election was a known trend or uncertainty that had

 already impacted the company’s sales and revenues in a materially negative

 manner, Defendants SITO Mobile, Hug, and Streams violated the Exchange Act

 and Regulation S-K.

       113. The false statements and/or misleading omissions within the press

 release, conference call, and quarterly report were material. The truth concerning

 the 2016 presidential election, and the effects it would have on the company’s sales

 and revenues, would have been considered by investors when deciding whether to

 purchase SITO Mobile stock. This information, which related directly to the




                                         38
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 39 of 66 PageID: 199




 company’s most important financial metrics, would have altered the total mix of

 information available to investors.

       114. Defendant SITO Mobile’s, Hug’s, and Streams’ false and/or

 materially misleading statements fraudulently portrayed SITO Mobile’s operations

 and finances in an overwhelmingly positive light. Notwithstanding, investors

 perceived that the company’s financial results were amiss. SITO Mobile’s revenue

 growth was weak relative to the 2015 fiscal year. Defendant Streams stated during

 the November 14, 2016 conference call that revenue for the third quarter increased

 “slightly sequentially, as our revenues flattened out due to August being a

 seasonally slower month.”

       115. Although Defendant Streams concealed the fact that the slow growth

 was due to effects from the presidential election, investors perceived Streams’

 statements and the company’s financial results to constitute a partial corrective

 disclosure and reacted accordingly. In response to these disclosures, SITO

 Mobile’s stock price declined from a closing price of $5.34 per share on November

 14, 2016 to $4.59 per share on November 15, 2016. SITO Mobile’s stock price

 continued to fall over the next few days, ultimately closing at $3.94 per share on

 November 17, 2016. The declines in SITO Mobile’s stock price occurred on

 unusually heavy volume.




                                        39
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 40 of 66 PageID: 200




                                  January 3, 2017

       116. Investors did not discover the truth concerning the impact of the 2016

 presidential election until January 3, 2017. On that day, SITO Mobile issued a

 press release announcing the Company’s preliminary media placement revenue

 results for the fourth quarter and year ended December 31, 2016.

       117. As alleged previously, the press release revealed that “SITO Mobile’s

 4th quarter was negatively affected this year by restrained advertising spending

 during a period of heightened and elongated media focus on this year’s U.S.

 election.” (emphasis added)

       118. In addition, Defendant Hug stated within the press release that “[w]e

 are disappointed that Q4 ad revenue fell below our expectations after a very good

 year overall. We clearly underestimated the effects of this year’s election on our

 clients’ campaign spending. Leading into the quarter, we saw seemingly normal

 activity levels and then revenue dropped off dramatically during the election

 window.” (emphasis added)

       119. The statements within the press release directly contradicted

 Defendant SITO Mobile’s, Hug’s, and Streams’ earlier statements during the Class

 Period. Moreover, the statements within the press release clarified Streams’

 statements during the November 14, 2016 conference call about seasonality and




                                         40
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 41 of 66 PageID: 201




 confirmed that the reason for the company’s stagnant revenue during the third

 quarter was in fact due to the negative effects from the 2016 presidential election.

       120. SITO Mobile’s disclosure was received negatively by analysts and

 investors alike. The Maxim Group, an equity research firm, lowered its price target

 for SITO Mobile’s stock from $9 per share to $6 per share. In its research report,

 the Maxim Group stated that SITO Mobile’s fourth quarter media placement

 revenue was “disappointing” and that the firm was lowering its “growth rate

 assumptions” after “two consecutive disappointing quarters for Media Placement

 demand.”

       121. Cowen and Company, another analyst research firm, also responded

 to SITO Mobile’s announcement concerning its fourth quarter earnings. The

 report, titled “4Q Pre-Announcement: Revenue Slips on Election Headwinds,”

 noted that SITO Mobile’s fourth quarter Media Placement revenue was 12% below

 the previous quarter and 25% below Cowen and Company’s estimates. Cowen and

 Company, similar to the Maxim Group, lowered its price target for SITO Mobile’s

 stock from $6 per share to $4.50 per share.

       122. Investors, like the analysts, also perceived SITO Mobile’s January 3,

 2017 disclosures to be negative and reacted immediately in response thereto by

 selling their shares. The price of SITO Mobile’s stock declined sharply in response

 to the Company’s January 3, 2017 disclosure. From a closing share price of $3.69

                                          41
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 42 of 66 PageID: 202




 per share on December 30, 2016 (the last trading day prior to January 3, 2017),

 SITO Mobile’s stock price declined to $2.50 per share on January 3, 2017, a drop

 of approximately 32%, on unusually heavy trading volume.

         Defendants SITO Mobile, Hug, and Streams Acted with Scienter

         123. Defendants SITO Mobile, Hug, and Streams engaged in an intentional

 and/or deliberately reckless course of conduct with regard to the false and

 materially misleading statements identified above. Contrary to their public

 statements, these defendants knew that the true state of affairs at the company was

 materially different. These defendant intentionally misled investors, or acted with a

 deliberate disregard as to the risk of misleading investors, for their own personal

 gain.

               Defendants Hug and Streams Possessed Information that
                   Directly Contradicted Their Public Statements

         124. Defendants Hug and Streams served as SITO Mobile’s CEO and

 CFO, respectively, during the Class Period. In their capacities as the company’s

 most senior executive officers, Hug and Streams were actively engaged in the day-

 to-day management of SITO Mobile’s operations. This included monitoring the

 company’s media placement operations, sales, revenues, and, in particular, whether

 the company’s sales and revenues were being impacted by the 2016 presidential

 election.



                                          42
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 43 of 66 PageID: 203




       125. Defendants Hug’s and Streams’ statements during the Class Period

 establish that they actively monitored all material developments within the

 company’s media placement operations. For example, on August 15, 2016, during

 the company’s second quarter investor conference call, Defendant Streams stated

 as follows:

       Let me take a moment to talk about seasonality in the advertising
       business, and how that may affect our growth progression. We now
       have better visibility into future media placement revenue versus
       several quarters ago as a result of improved participation in
       advertiser's planning and request for mobile ad campaign proposals.
       So, precise predictions in the advertising business beyond our horizon
       of several weeks can be a difficult proposition.

 (emphasis added)

       126. In addition, statements made by Defendant Hug to representatives of

 Lead Plaintiffs prior to Lead Plaintiffs’ investment show that Hug was fully aware

 of all events and occurrences within the company’s media placement operations.

 These statements were made during a private conversation between Hug and a

 representative of Lead Plaintiffs on June 2, 2016. SITO Mobile’s Senior Vice

 President, Investor Relations, Joseph Wilkinson, was also present for the meeting.

 During the meeting, Hug discussed SITO Mobile’s media placement business in

 detail, identifying customers, expected revenue, and plans for growth.

       127. Subsequent conversations between Hug, Streams, and Lead Plaintiffs

 further confirm the fact that Hug and Streams actively managed the company’s

                                         43
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 44 of 66 PageID: 204




 media placement operations. For example, during a meeting on or around

 September 13, 2016, Hug and Streams discussed the company’s detailed plans to

 hire additional sales personnel, including strategies for particular locations

 throughout the country as well as strategies for hiring sales personnel for particular

 channels and segments of the market.

       128. Information obtained from a former employee of SITO Mobile

 corroborates the fact that Defendants Hug and Streams actively monitored the

 company’s media placement operations, including sales, revenues, and, in

 particular, the extent the company’s sales and revenues were impacted by the 2016

 presidential election. According to a former Director of Sales that worked for the

 company between 2011 and 2016 and who was responsible for and highly involved

 in SITO Mobile’s sales processes, the company utilized Salesforce as a means of

 tracking and organizing its sales. Members of the sales team, directors, and

 executives had access to Salesforce and would enter “leads” into Salesforce.

 “Leads” were generated through solicitations over the telephone as well as general

 research through television, radio, and billboard displays. If a “lead” was

 developed into a sale, the terms of the sale (or campaign) would have to be

 approved by a manager or executive, i.e., vice president or executive vice president

 employees. Once approved, the terms of the sale were entered into Salesforce in




                                          44
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 45 of 66 PageID: 205




 order to allow the company to monitor contractual terms, deadlines, and all other

 information about the advertising campaign.

       129. The importance of the company’s media placement operations to

 SITO Mobile itself also confirms that Defendants Hug and Streams actively

 monitored the company’s media placement operations and, in particular, how the

 2016 presidential election impacted these operations. SITO Mobile’s media

 placement segment was, by far, the company’s most vital operation. Media

 placement revenue constituted 98% of the company’s total revenue for fiscal 2016

 and 51% of the company’s total revenue for fiscal 2015. Importantly, whereas

 SITO Mobile generated revenue from its wireless applications segment in 2015,

 the company’s wireless applications segment was discontinued during 2016.

 Accordingly, SITO Mobile’s media placement operation qualified as a “core

 operation” for the company.

       130. Given the importance of SITO Mobile’s media placement segment to

 the company’s overall operations, Defendants Hug and Streams kept fully

 informed of all material developments within the company’s media placement

 operations. This includes developments concerning the company’s sales and

 revenues and whether they were being impacted by the 2016 presidential election.

       131. Defendants SITO Mobile, Hug, and Streams represented to investors

 during the Class Period that demand for the company’s media placement services

                                        45
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 46 of 66 PageID: 206




 was strong, that any weakness in sales was due to regular seasonality, and that the

 ongoing 2016 presidential election had not negatively impacted the company’s

 sales and revenues. These defendants made these statements despite knowing that

 the company’s sales and revenues had in fact stalled and/or declined because of the

 negative impact from the 2016 presidential election. Consequently, Defendants

 SITO Mobile, Hug, and Streams acted with scienter.

         Defendants Hug and Streams Benefitted Personally from the Fraud

       132. Defendants Hug and Streams engaged in the fraudulent conduct

 described above in order to benefit financially in a personal manner. By making

 the false and materially misleading statements they did, Hug and Streams

 successfully inflated the stock price and generated a substantial amount of capital.

 The motive for financial gain underlying Hug’s and Streams’ conduct supports a

 strong inference of scienter.

       133. Defendants Hug and Streams had been engaging in a scheme during

 the Class Period whereby they were misappropriating corporate funds for personal

 benefit. Although SITO Mobile initially portrayed Hug’s and Streams’ respective

 departures from the company as “resignations,” the company revealed in its annual

 report for fiscal 2016 (Form 10-K) that they had in fact left the company in

 connection with an investigation over the potential misappropriation of corporate

 funds. The company’s annual report stated, in pertinent part, as follows:

                                          46
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 47 of 66 PageID: 207




       On February 17, 2017, Jerry Hug resigned as Chief Executive Officer
       and director of the Company. Also, on March 10, 2017, Kurt Streams
       resigned as Chief Financial Officer of the Company. Following the
       resignation of Mr. Hug, our Audit Committee engaged an
       independent law firm and an accounting consulting firm to conduct
       an inquiry into the use of the Company's charge and debit cards, as
       well as certain cash withdrawals. The ongoing inquiry identified the
       misappropriation of company funds by each of Streams and Hug.
       The company is implementing stronger compliance with company
       policies and enhancements to its controls and procedures with respect
       to these matters.

 (emphasis added)

       134. SITO Mobile confirmed, later in the annual report, that the

 investigation in fact resulted in a finding that Defendants Hug and Streams had

 misappropriate corporate funds in the aggregate amount of $330,000. The annual

 report stated, in pertinent part, as follows:

       The independent law firm and accounting consulting firm
       completed the inquiry and concluded that over two years, the former
       CEO/CFO had misappropriated approximately $330 thousand in
       aggregate including credit and debit cards, cash withdrawals, and
       extra payroll. This amount was identified to have been properly
       expensed in the appropriate periods.

       Management does not believe that this deficiency increased the
       likelihood of a material misstatement to more than remote since
       mitigating controls did exist and operated effectively during the fiscal
       year for proper identification and classification of the transactions.
       Financial reconciliations are reviewed on a monthly basis by
       management in an effort to identify large variances or unknown
       fluctuations. Additionally, consolidated results are reviewed by
       executive management as part of the quarterly financial and
       compliance review process.



                                            47
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 48 of 66 PageID: 208




       In response, the Company has eliminated the debit card and use of
       petty cash. With regards to the use of credit cards, all authorized users
       are now required to send in reconciliations with supporting backup
       and valid business reasons on a monthly basis as the statements are
       available. There is a monthly card limit in place, and periodically the
       Board will review a summary of charges.

       A travel and entertainment policy has been created and will be
       distributed to all employees for 2017. This policy details the types of
       allowed expenses, in addition to limitations which require supporting
       documentation and valid business reasons. An agreement has been
       executed for 3rd party expense software to add an automated level of
       approval, and is in the process of being implemented across the
       Company for expense tracking and reporting.

 (emphasis added)

       135. Misappropriation of corporate funds is a serious form of corporate

 misconduct. Defendants Hug and Streams developed a scheme whereby they were

 able to siphon company proceeds from the company through seemingly innocuous

 expense reimbursement requests, cash withdrawals, and credit card invoices. In

 order to maintain this scheme, Defendants Hug and Streams needed to generate

 enough capital so as to render the amounts they were stealing either trivial in size

 or unnoticeable relative to the company’s overall cash flow.

       136. Defendants furthered their misappropriation scheme by conducting

 the company’s initial public offering in September 2016. By way of the initial

 public offering, Defendants successfully generated over $10 million in corporate

 proceeds. The proceeds generated from the public offering would have been

 sufficient to conceal the amounts of cash that Hug and Streams had been stealing
                                          48
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 49 of 66 PageID: 209




 from the company and, therefore, would have allowed Hug and Streams to

 continue their misappropriation scheme for the foreseeable future.

       137. In order to successfully hold the public offering, however, Hug and

 Streams needed to generate a significant amount of demand for SITO Mobile’s

 common stock in the market. Defendants Hug and Streams accomplished this by

 making the false and materially misleading statements identified above. Through

 their fraudulent statements, Defendants Hug and Streams were able to generate

 enough interest in the company’s offering to make it successful in terms of

 generating additional capital which, in turn, they used to benefit themselves

 through their misappropriation scheme.

       138. The amounts that Hug and Streams had already stolen, and intended to

 continue stealing, were significant. Defendants Hug’s and Streams’ salaries for

 fiscal 2015 and 2016 ranged between approximately $200,000 and $300,000.

 Accordingly, the amounts that they had already stolen were substantial compared

 to the amounts they were receiving as salary compensation.

       139. Defendants Hug and Streams certified the financial reports of SITO

 Mobile each quarter. Accompanying each quarterly and annual report, Hug and

 Streams signed certifications pursuant to the Sarbanes-Oxley Act of 2002. These

 certifications represented that SITO Mobile’s reports disclosed all required

 material information, including “[a]ny fraud, whether or not material, that involves

                                          49
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 50 of 66 PageID: 210




 management or other employees who have a significant role in the registrant’s

 internal control over financial reporting.”

       140. Defendants Hug and Streams attested to the contents of SITO

 Mobile’s reports even though they were personally involved in a misappropriation

 scheme. The fact that Defendants Hug and Streams signed these certifications

 while knowing they were false all but confirms that they acted with scienter during

 the Class Period.

       141. In addition to stealing money directly from the company, Defendants

 Hug and Streams also profited in connection with vested, but unexercised options

 that they held. The following chart displays the stock price of SITO Mobile

 between February 2016 and March 2017:




       142. As illustrated above, SITO Mobile’s stock price increased during the

 Class Period in connection with Defendant Hug’s and Streams’ false and



                                           50
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 51 of 66 PageID: 211




 materially misleading statements. SITO Mobile’s stock price increased to an intra-

 Class Period high of $5.60 per share on October 10, 2016.

          143. During the Class Period, Defendant Hug owned 256,040 shares of

 SITO Mobile common stock underlying fully vested, but unexercised stock

 options. Hug also owned 42,060 shares of SITO Mobile common stock underlying

 unexercisable stock options. The exercise price for Hug’s options ranged from

 $2.805 per share to $6.50 per share, with the majority of his options having an

 exercise price of $4.69 per share.

          144. Similarly, Defendant Streams owned 33,412 shares of SITO Mobile

 common stock underlying fully vested, but unexercised stock options, and 66,824

 shares of SITO Mobile common stock underlying unexercisable stock options. The

 exercise price for Streams’ options ranged from $2.805 per share to $6.20 per

 share.

          145. At the start of the Class Period, SITO Mobile’s common stock traded

 at approximately $4.00 per share. Between August 15, 2016 and November 14,

 2016, during the Class Period, SITO Mobile’s average common stock price was

 $4.88 per share. Accordingly, by making the false statements they did, Defendants

 Hug and Streams successfully placed a substantial portion of their options “in the

 money.”




                                         51
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 52 of 66 PageID: 212




       146. The motive shared by Hug and Streams to artificially inflate the price

 of SITO Mobile stock is corroborated by statements during the June 2, 2016

 meeting between Hug and a representative of Lead Plaintiffs. During the meeting,

 Hug explained that he intended on obtaining financing for the company through a

 public offering. Hug stated further, however, that he did not want to conduct an

 offering at that point in time because the price of SITO Mobile’s common stock

 was too low. Hug explained that he intended on conducting a public offering in

 August 2016 or sometime after he announced the company’s financial earning

 results for the second quarter of fiscal 2016.

       147. Defendant Hug’s statements during the June 2016 meeting support the

 conclusion that Hug was mindful of the price of SITO Mobile’s common stock and

 intent on increasing the price of SITO Mobile’s common stock for the purposes of

 benefitting himself. Hug’s statement also show that he intended his statements to

 have the effect that they did, which shows that he acted with scienter.

       148. Defendant Hug and Streams possessed a unique, personal motive to

 artificially inflate SITO Mobile’s stock price. In connection with the public

 offering as well as their stock options, Hug and Streams each benefitted financial

 from the price of STIO Mobile’s common stock. The financial motives behind

 Hug’s and Streams’ fraudulent statements support a strong inference of scienter.




                                           52
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 53 of 66 PageID: 213




    Application of Presumption of Reliance: Fraud-on-the-Market Doctrine

        149. The market for SITO Mobile’s stock was open, well-developed and

 efficient at all relevant times.

               a.     SITO Mobile stock met the requirements for listing, and was

                      listed and actively traded on the NASDAQ Capital Market, a

                      highly efficient and automated market. During the Exchange

                      Act Class Period, average daily trading volume exceeded

                      18,000 shares per day;

               b.     As a regulated issuer, SITO Mobile filed periodic public reports

                      with the SEC and/or NASDAQ Capital Market;

               c.     SITO Mobile regularly communicated with public investors via

                      established market communication mechanisms, including

                      through regular dissemination of press releases on the national

                      circuits of major newswire services and through other wide-

                      ranging public disclosures, such as communications with the

                      financial press and other similar reporting services; and/or

               d.     SITO Mobile was followed by securities analysts employed by

                      brokerage firms who wrote reports about the Company, and

                      these reports were distributed to the sales force and certain

                      customers of their respective brokerage firms. Each of these

                                           53
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 54 of 66 PageID: 214




                     reports was publicly available and entered the public

                     marketplace.

       150. As a result of the foregoing, the market for SITO Mobile stock

 promptly digested current information regarding SITO Mobile from all publicly

 available sources and reflected such information in SITO Mobile’s stock price, as

 evidenced by the price reactions to the disclosure on January 3, 2017.

       151. Defendants’ materially misleading statements and/or omissions of

 material fact caused SITO Mobile shares to trade at artificially inflated prices

 during the Class Period.

       152. Lead Plaintiffs and other members of the Class purchased or

 otherwise acquired the Company’s stock relying upon the integrity of its market

 price, which reflected all information available to the market concerning SITO

 Mobile, including Defendants’ materially misleading statements and material

 omissions, and have been damaged thereby. When, at the end of the Class Period,

 Defendants issued new public statements to the market that disclosed the facts

 previously omitted, and corrected the misleading statements previously issued, the

 artificial inflation was removed and the Company’s share price collapsed.

       153. Under these circumstances, all purchasers of SITO Mobile’s stock

 during the Class Period suffered similar injury through their purchase of SITO

 Mobile shares at artificially inflated prices, and a presumption of reliance applies.

                                           54
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 55 of 66 PageID: 215




       154. A Class-wide presumption of reliance is also appropriate in this action

 under the Supreme Court’s holding in Affiliated Ute Citizens of Utah v. U.S., 406

 U.S. 128 (1972), because the Class’ claims are grounded on Defendants’ material

 omissions. Because this action involves Defendants’ failure to disclose material

 adverse information regarding SITO Mobile’s business operations and financial

 prospects – information that Defendants were obligated to disclose – positive proof

 of reliance is not a prerequisite to recovery. All that is necessary is that the facts

 withheld be material in the sense that a reasonable investor might have considered

 them important in making investment decisions.

       155. Given the importance of the Class Period material misstatements and

 omissions set forth above, that requirement is satisfied here, and, therefore,

 Affiliated Ute provides a separate, distinct basis for finding the applicability of a

 presumption of reliance.

                                   Loss Causation

       156. Defendants’ materially misleading statements and omissions during

 the Class Period resulted in Lead Plaintiffs and other members of the Class

 purchasing the Company’s shares at artificially inflated prices, and thereby directly

 or proximately caused, or were a substantial contributing cause, of the damages

 sustained by Lead Plaintiffs and other members of the Class.




                                          55
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 56 of 66 PageID: 216




      157. As alleged herein:

            a.    the market for SITO Mobile’s stock was open, well-developed

                  and efficient at all relevant times;

            b.    Defendants’ above-detailed materially misleading statements

                  and/or material omissions had the effect of creating in the

                  market an unrealistically positive assessment of the Company

                  and its prospects, thus causing the Company’s shares to be

                  overvalued and the market price of the Company’s shares to be

                  artificially inflated during the Class Period;

            c.    Lead Plaintiffs and other members of the Class purchased or

                  otherwise acquired SITO Mobile stock relying upon the

                  integrity of the market price for SITO Mobile shares and market

                  information relating to SITO Mobile;

            d.    Immediately following disclosure made by Defendants on

                  January 3, 2017 that corrected the misleading statements made

                  by Defendants during the Class Period and/or marked

                  materialization of risks concealed by Defendants during the

                  Class Period, SITO Mobile’s share price suffered severe

                  devaluation.




                                        56
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 57 of 66 PageID: 217




       158. Defendants withheld material information concerning the 2016

 presidential election, and the impact it had on the company’s sales and revenues,

 throughout the Class Period. The information that Defendants withheld related to

 the “political crowd out” effect caused by increased political advertising. This, in

 turn, caused non-political retail advertisers to avoid spending on advertising.

       159. Investors who purchased SITO Mobile stock during the Class Period

 were unaware of the risks associated with the 2016 presidential election, i.e., the

 political advertising would have a negative material effect on the company’s sales

 and revenues, and only learned of them when they materialized through the

 company’s third- and fourth-quarter earnings for fiscal 2016.

       160. In sum, Defendants’ wrongful conduct, as alleged herein, directly and

 proximately caused the economic loss suffered by Lead Plaintiffs and the Class.

 During the Class Period, Lead Plaintiffs and other Class members purchased SITO

 Mobile’s stock at prices artificially inflated by Defendants’ materially misleading

 statements and omissions, and when the misleading statements that Defendants

 made to the market were corrected, and/or the information alleged herein to have

 been concealed from the market was revealed, the price of the Company’s stock

 significantly declined, causing Lead Plaintiffs’ and Class Members’ losses.




                                          57
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 58 of 66 PageID: 218




                              CLAIMS FOR RELIEF

                                    COUNT III

                  Violation of Section 10(b) of the Exchange Act
                    and SEC Rule 10b-5 Against Defendants
       161. Lead Plaintiffs incorporate herein ¶¶1-66, 88-160 by reference.

       162. During the Class Period, Defendants disseminated or approved the

 materially false and misleading statements specified above, which they knew or

 deliberately disregarded were misleading in that they contained misrepresentations

 and failed to disclose material facts necessary in order to make the statements

 made, in light of the circumstances under which they were made, not misleading.

       163. Defendants violated §10(b) of the 1934 Act, 15 U.S.C. §78j(b), and

 Rule 10b-5, 17 C.F.R. §240.10b-5, in that they: (a) employed devices, schemes,

 and artifices to defraud; (b) made untrue statements of material fact and/or omitted

 to state material facts necessary to make the statements not misleading; and (c)

 engaged in acts, practices, and a course of business which operated as a fraud and

 deceit upon the purchasers of the Company’s common stock during the Class

 Period.

       164. Lead Plaintiffs and the Class have suffered damages in that, in

 reliance on the integrity of the market, they paid artificially inflated prices for

 SITO Mobile common stock. Lead Plaintiffs and the Class would not have

 purchased SITO Mobile common stock at the prices they paid, or at all, if they had

                                         58
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 59 of 66 PageID: 219




 been aware that the market prices had been artificially and falsely inflated by

 Defendants’ misleading statements and/or omissions.

       165. As a direct and proximate result of Defendants’ wrongful conduct,

 Lead Plaintiffs and the other members of the Class suffered damages in connection

 with their purchases of SITO Mobile common stock during the Class Period.

                                     COUNT IV

                  Violation of Section 20(a) of the Exchange Act
                        Against the Individual Defendants
       166. Lead Plaintiffs incorporate herein ¶¶1-66, 88-165 by reference.

       167. The Individual Defendants acted as controlling persons of SITO

 Mobile within the meaning of §20(a) of the Exchange Act, as alleged herein. By

 reason of their high-level positions with the Company, their ownership of SITO

 Mobile stock, their participation in and/or awareness of the Company’s operations

 and/or intimate knowledge of the false and materially misleading statements filed

 by the Company with the SEC and disseminated to the investing public, the

 Individual Defendants had the power to influence and control (and did influence

 and control), directly or indirectly, the decision-making of the Company, and

 caused SITO Mobile to engage in the wrongful conduct complained of herein,

 including the dissemination of the various statements which Lead Plaintiffs

 contend are false and misleading.



                                        59
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 60 of 66 PageID: 220




       168. The Individual Defendants were provided with or had access to:

 Company reports, press releases, public filings and other information and

 statements alleged by Lead Plaintiffs to be misleading prior to and/or shortly after

 these statements were issued and had the ability to prevent the issuance of the

 statements or cause the statements to be corrected. In particular, each of the

 Individual Defendants had direct and supervisory involvement in the day-to-day

 operations of the Company and, therefore, is presumed to have had the power to

 control or influence the particular transactions giving rise to the securities

 violations as alleged herein, and exercised the same.

       169. As set forth above, the Individual Defendants violated §10(b) and

 Rule 10b-5 by their acts and/or omissions as alleged in this Complaint. Moreover,

 by virtue of their positions as controlling persons, the Individual Defendants had

 the power and authority to, and did, cause Arrowhead to engage in the wrongful

 conduct alleged. As a direct and proximate result of the Individual Defendants’

 wrongful conduct, Lead Plaintiffs and other members of the Class suffered

 damages in connection with their purchases of the Company’s common stock

 during the Class Period. By reason of such conduct, the Individual Defendants are

 liable pursuant to §20(a) of the Exchange Act.




                                          60
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 61 of 66 PageID: 221




                                NO SAFE HARBOR
       170. The statutory safe harbor provided for forward-looking statements

 under certain circumstances does not apply to any of the allegedly false statements

 pleaded in this Complaint. The statements alleged to be false and misleading herein

 all relate to then-existing facts and conditions. In addition, to the extent certain of

 the statements alleged to be false may be characterized as forward looking, they

 were not identified as “forward-looking statements” when made and there were no

 meaningful cautionary statements identifying important factors that could cause

 actual results to differ materially from those in the purportedly forward-looking

 statements.

       171. In the alternative, to the extent that the statutory safe harbor is

 determined to apply to any forward-looking statements pleaded herein, Defendants

 are liable for those false forward-looking statements because at the time each of

 those forward-looking statements was made, the speaker had actual knowledge that

 the forward-looking statement was materially false or misleading, and/or the

 forward-looking statement was authorized or approved by an executive officer of

 SITO Mobile who knew that the statement was false when made.

       172. The safe harbor does not apply to Lead Plaintiffs’ claims under the

 Securities Act. Pursuant to 15 U.S.C. §77z-2, the statutory safe harbor does not

 apply to any “forward-looking statement . . . made in connection with an initial


                                           61
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 62 of 66 PageID: 222




 public offering.” SITO Mobile’s September 2016 offering qualified as an “initial

 public offering.” Therefore, by statute, the safe harbor provision does not apply.

                        CLASS ACTION ALLEGATIONS
       173. Lead Plaintiffs bring this action as a class action pursuant to Federal

 Rule of Civil Procedure 23(a) and (b)(3) on behalf of a class consisting of all those

 who purchased or otherwise acquired SITO Mobile common stock in or traceable

 to SITO Mobile’s initial public offering and/or on the NASDAQ Capital Market

 between August 15, 2016 and January 2, 2017, inclusive, and were damaged upon

 the revelation of the alleged corrective disclosures (the “Class”). The period

 between August 15, 2016 and January 2, 2017, inclusive, is referred to herein as

 the “Class Period.” Excluded from the Class are Defendants, the officers and

 directors of the Company, and, at all relevant times, members of their immediate

 families and their legal representatives, heirs, successors or assigns and any entity

 in which Defendants have or had a controlling interest.

       174. The members of the Class are so numerous that joinder of all

 members is impracticable. While the exact number of members the Class is

 unknown to Lead Plaintiffs at this time and can only be ascertained through

 appropriate discovery, Lead Plaintiffs believe that there are hundreds or thousands

 of members in the proposed Class.




                                          62
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 63 of 66 PageID: 223




       175. As of November 14, 2016, SITO Mobile had 20.6 million shares of

 common stock outstanding. Throughout the Class Period, SITO Mobile shares

 were actively traded on NASDAQ, with average daily trading exceeding 18,000

 shares per day. Record owners and other members of the Class may be identified

 from records maintained by SITO Mobile or its transfer agent and may be notified

 of the pendency of this action by mail, using the form of notice similar to that

 customarily used in securities class actions.

       176. Lead Plaintiffs’ claims are typical of the claims of the members of the

 Classes, as all members of the Class are similarly affected by Defendants’

 wrongful conduct, in violation of federal securities laws, complained of herein.

       177. Lead Plaintiffs will fairly and adequately protect the interests of the

 members of the Class, and have retained counsel competent and experienced in

 class and securities litigation.

       178. Common questions of law and fact exist as to all members of the

 Class and predominate over any questions solely affecting individual members of

 the Class. Among the questions of law and fact common to the Class are:

              a.     whether the federal securities laws were violated by

                     Defendants’ acts as alleged herein;

              b.     whether Defendants’ public statements during the Class Period

                     were materially misleading, and/or omitted material facts;

                                          63
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 64 of 66 PageID: 224




              c.    whether Defendants acted with scienter in making false or

                    misleading statements during the Class Period; and

              d.    whether members of the Class have sustained damages and, if

                    so, the proper measure thereof.

       179. A class action is superior to all other available methods for the fair

 and efficient adjudication of this controversy since joinder of all members is

 impracticable. Furthermore, as the damages suffered by individual Class Members

 may be relatively small, the expense and burden of individual litigation makes it

 impossible for members of the Class to individually redress the wrongs done to

 them. There will be no difficulty in the management of this action as a class action.

                               PRAYER FOR RELIEF

       WHEREFORE, Lead Plaintiffs pray for relief and judgment, as follows:

       (a)    Determining that this action is a proper class action under Rule 23 of

 the Federal Rules of Civil Procedure;

       (b)    Appointing Lead Plaintiffs as representatives of the Class, and

 appointing Levi & Korsinsky LLP as Class counsel;

       (c)    Awarding compensatory damages in favor of Lead Plaintiffs and the

 other Class members against all Defendants, jointly and severally, for all damages

 sustained as a result of Defendants’ wrongdoing, in an amount to be proven at trial,

 including interest thereon;

                                          64
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 65 of 66 PageID: 225




       (d)    Awarding Lead Plaintiffs and the Class their reasonable costs and

 expenses incurred in this action, including attorneys’ fees and expert fees; and

       (e)    Such other and further relief as the Court may deem just and proper.

                        DEMAND FOR TRIAL BY JURY
       Lead Plaintiffs hereby demand a trial by jury.

 Dated: June 22, 2017                     LEVI & KORSINSKY LLP


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                                          Lead Counsel for the Proposed Class




                                          65
Case 2:17-cv-01106-ES-MAH Document 18 Filed 06/22/17 Page 66 of 66 PageID: 226




                         CERTIFICATE OF SERVICE

       I hereby certify that on June 22, 2017, I caused the foregoing Amended

 Complaint for Violations of the Federal Securities Laws to be electronically filed

 with the Clerk of the Court using the CM/ECF system which will send notification

 of such filing to the email addresses denoted on the Electronic Mail Notice List

 generated by the CM/ECF system.




                                             /s/ Eduard Korsinsky               .
                                             Eduard Korsinsky
